        Case 5:22-cv-04486-BLF Document 332-14 Filed 03/16/23 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11
                            IN THE UNITED STATES DISTRICT COURT
12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE DIVISION
13
     MATT JONES, BRYSON DECHAMBEAU,               CASE NO. 5:22-cv-04486-BLF
14   PETER UIHLEIN, and LIV GOLF INC.,
                                                  [PROPOSED] ORDER
15                    Plaintiffs,                 [GRANTIING/DENYING] PLAINTIFFS’
                                                  ADMINISTRATIVE MOTION TO
16         v.                                     CONSIDER WHETHER ANOTHER
                                                  PARTY’S MATERIAL SHOULD BE
17   PGA TOUR, INC.,                              SEALED
18                    Defendant and Counter-
                      Plaintiff,
19
           v.
20
     LIV GOLF INC.,
21
                          Counter-Defendant.
22

23

24

25

26

27

28


                                          [PROPOSED] ORDER
         Case 5:22-cv-04486-BLF Document 332-14 Filed 03/16/23 Page 2 of 2


 1           Now before the Court is Plaintiffs Matt Jones, Bryson DeChambeau, Peter Uihlein, and LIV
 2   Golf, Inc. (together, “Plaintiffs”) Administrative Motion to Consider Whether Another Party’s Material
 3   Should be Sealed in connection with their Motion to Bifurcate. Having carefully considered the papers
 4   and all statements submitted to support sealing, the Court [GRANTS/DENIES] the Motion. The
 5   Court’s decision as to each document is reflected in the table below.
 6
        Document                Text to be Sealed                       Basis for Sealing
 7
        Motion to         Lines 4:22-27, 5:11-13, 5:21   Contains confidential information of Defendant
 8      Bifurcate                                        the PGA Tour, Inc.

 9     Exhibits G, J,     Entirety                       Contains confidential information of Defendant
        K, N, O, P,                                      the PGA Tour, Inc.
10    P(a), P(b), P(c),
       P(d), Q, R, S,
11       T, and U
       Exhibits P(e),     Entirety                       Contains confidential information of non-party
12
       P(f), and P(g)                                    Clout Public Affairs, LLC.
13

14
             IT IS SO ORDERED.
15

16   DATED this ___ day of ________, 2023.
17
                                                          BETH LABSON FREEMAN
18                                                        United States District Court Judge
19

20

21

22

23

24

25

26

27

28



                                                 [PROPOSED] ORDER
